           Case:19-10512-JGR Doc#:23 Filed:02/14/19                                            Entered:02/14/19 15:07:32 Page1 of 33



 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         19-10512 JGR
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                   $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           Unknown
       From 1/01/2018 to 12/31/2018                                                                         June 2018-December
                                                                                                            2018: No Revenue;
                                                                                                            Consolidated
                                                                                                            financials prior to
                                                                                                   Other    June 2018


       For year before that:                                                                       Operating a business                           Unknown
       From 1/01/2017 to 12/31/2017                                                                         Financial information
                                                                                                            was consolidated
                                                                                                            with Two Rivers
                                                                                                            Water & Farming
                                                                                                   Other    Company

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)


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 Debtor       GrowCo, Inc.                                                                              Case number (if known) 19-10512 JGR




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Unknown                                                                                        Unknown                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Unknown                                                                                        Unknown


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Blue Green v. GrowCo                              Claim for Debt             District Court, City and                       Pending
               2018CV30244                                       Repayment                  County of Denve                                On appeal
                                                                                            1437 Bannock Street
                                                                                                                                           Concluded
                                                                                            Denver, CO 80202


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor        GrowCo, Inc.                                                                                 Case number (if known) 19-10512 JGR



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Wadsworth Warner Conrardy,
                P.C.
                2580 West Main Street
                Littleton, CO 80120                                                                                            1/24/2019               $14,001.50

                Email or website address
                dwadsworth@wwc-legal.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers            Total amount or
                                                                                                                        were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


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 Debtor        GrowCo, Inc.                                                                             Case number (if known) 19-10512 JGR




           None.

               Who received transfer?                            Description of property transferred or                  Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange             was made                           value
       13.1 Two Rivers Water & Farming
       .    Company,
               Corporate officers and other
               third
               parties                                           Money                                                   2017-2018                       Unknown

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     3025 S. Parker Rd., Suite 140                                                                             2017 to 12/2018
                 Aurora, CO 80014

       14.2.     2000 South Colorado Blvd., Suite 3100                                                                     2014 to 2017
                 Denver, CO 80222

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor        GrowCo, Inc.                                                                             Case number (if known) 19-10512 JGR




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.    KeyBank                                          XXXX-6795                   Checking                 August 2018                          $0.00
                9309 Dorchester St.                                                          Savings
                Littleton, CO 80129
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



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 Debtor      GrowCo, Inc.                                                                               Case number (if known) 19-10512 JGR




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    GrowCo Partners 1, LLC                           Construction Leasing Greenhouse                  EIN:         XX-XXXXXXX
             3025 S. Parker Rd., Suite 140
             Aurora, CO 80014                                                                                  From-To      10/31/2014 to Present

    25.2.    GCP Super Units, LLC                             Construction Leasing                             EIN:         XX-XXXXXXX
             456 Madison Street                               Greenhouses
             Denver, CO 80206                                                                                  From-To      9/25/2015 to Present

    25.3.    GrowCo Partners 2, LLC                           Construction Leasing Greenhouse                  EIN:         XX-XXXXXXX
             456 Madison Street
             Denver, CO 80206                                                                                  From-To      12/30/2014 to Present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Wayne Harding                                                                                                              5/4/2014 to
                    3025 S. Parker Rd., Suite 140                                                                                              10/31/2018
                    Aurora, CO 80014
       26a.2.       Bill Gregorak                                                                                                              2015 to 2017
                    3025 S. Parker Rd., Suite 140
                    Aurora, CO 80014


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      GrowCo, Inc.                                                                               Case number (if known) 19-10512 JGR



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.3.       Cheryl Steele                                                                                                        2016 to 2018
                    3025 S. Parker Rd., Suite 140
                    Aurora, CO 80014
       26a.4.       Mile High Bookkeeping Services, LLC                                                                                  9/30/2017 to
                    0233 Parker Rd., Suite 300                                                                                           3/31/2018
                    Parker, CO 80134

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       M&K CPAs, PLLC                                                                                                       2018 to Present
                    363 N. Sam Houston Pkwy. E
                    Houston, TX 77060
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Eide Bailey                                                                                                          2014 to 2017
                    7001 E. Belleview Ave. Ste. 700
                    Denver, CO 80237

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Two Rivers Water & Farming Company
                    3025 S. Parker Rd., Suite 140
                    Aurora, CO 80014

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      GrowCo, Inc.                                                                               Case number (if known) 19-10512 JGR



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John R. McKowen                                456 Madison St.                                     Chief Executive Officer. Mr.          10%
                                                      Denver, CO 80206                                    McKowen owns 5,000 shares
                                                                                                          of 34,000,000 oustanding.
                                                                                                          Additionally, McGrow LLC, an
                                                                                                          entity of which Mr. McKowen
                                                                                                          owns 35%, owns 10,000,000
                                                                                                          shares.
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jan McCaffrey                                  6071 Silver Thorn Run                               Chief Operating Officer               0
                                                      Littleton, CO 80125



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Joseph R. McKowen                              11032 Pheasant Court                                Chief Financial Officer          7/19/2017 to
                                                      Parker, CO 80134                                                                     1/28/2019


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Two Rivers Water & Farming Company                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8
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 Debtor      GrowCo, Inc.                                                                               Case number (if known) 19-10512 JGR



      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 14, 2019

 /s/ John R. McKowen                                                    John R. McKowen
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 9
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 Fill in this information to identify the case:

 Debtor name            GrowCo, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)               19-10512 JGR
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $              7,814.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,127,681.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,135,495.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           545,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,790,043.60


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         11,335,043.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         19-10512 JGR
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                              Current value of
                                                                                                                                debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 0.00    -                                0.00 = ....                     Unknown
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor         GrowCo, Inc.                                                                 Case number (If known) 19-10512 JGR
                Name

           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     2,959,070 GrowCo Partners 1, LLC Common
           15.1.     Membership Interests                                                     %                                         Unknown



                     17,707,000 GCP Super Units, LLC Common
           15.2.     Membership Interests                                                     %                                         Unknown



                     5,200,000 GrowCo Partners 2, LLC Common
           15.3.     Membership Interests                                                     %                                         Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                              $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor         GrowCo, Inc.                                                                  Case number (If known) 19-10512 JGR
                Name

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 39331 Harbour Road,
                     Avondale, Colorado
                     39.07 Acres
                     APN - 2300000435
                     Assessor's Office,
                     Pueblo County,
                     Colorado                             Fee simple                    $7,814.00                                           $7,814.00




 56.        Total of Part 9.                                                                                                             $7,814.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Company domain name and website
            trgrowco.com                                                               Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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 Debtor         GrowCo, Inc.                                                                  Case number (If known) 19-10512 JGR
                Name

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Promissory Note owed by GrowCo                                  607,385.00 -                                   0.00 =
            Partners 1, LLC                                           Total face amount     doubtful or uncollectible amount                 $607,385.00


            Promissory Note owed by Two                                     520,296.00 -                                   0.00 =
            Rivers Water & Farming Company                            Total face amount     doubtful or uncollectible amount                 $520,296.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Unknown                                                                             Tax year                                        Unknown



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Claims against Two Rivers Water & Farming Company,
            corporate officers and directors and other third parties                                                                            Unknown
            Nature of claim         Breaches of duties, fraud and
                                    other commercial torts
            Amount requested                    $10,000,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                           $1,127,681.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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 Debtor         GrowCo, Inc.                                                                 Case number (If known) 19-10512 JGR
                Name




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor          GrowCo, Inc.                                                                                        Case number (If known) 19-10512 JGR
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                           $7,814.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,127,681.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,127,681.00            + 91b.                 $7,814.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,135,495.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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         Case:19-10512-JGR Doc#:23 Filed:02/14/19                                                 Entered:02/14/19 15:07:32 Page17 of 33
 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)             19-10512 JGR
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   VitaNova, Inc.                                 Describe debtor's property that is subject to a lien                   $45,000.00                 Unknown
       Creditor's Name                                All tangible and intangible personal property,
                                                      writings, and fixtures; all products, proceeds
       456 Madison St.                                and offspring including insurance proceeds
       Denver, CO 80206
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/21/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   VitaNova, LLC                                  Describe debtor's property that is subject to a lien                 $500,000.00                  Unknown
       Creditor's Name                                All equipment, fixtures, machinery, tools,
                                                      parts, furniture, furnishings and other
                                                      personal property, tangible or intangible,
       456 Madison Street                             presently owned or after acquired
       Denver, CO 80206
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/1/2018                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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         Case:19-10512-JGR Doc#:23 Filed:02/14/19                                         Entered:02/14/19 15:07:32 Page18 of 33
 Debtor       GrowCo, Inc.                                                                       Case number (if know)         19-10512 JGR
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $545,000.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
          Case:19-10512-JGR Doc#:23 Filed:02/14/19                                             Entered:02/14/19 15:07:32 Page19 of 33
 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)           19-10512 JGR
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,022.62
           Acorn Petroleum Inc.                                                 Contingent
           PO Box 603                                                           Unliquidated
           Colorado Springs, CO 80901                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,053.50
           Altman Keilbach Lytle Parlapiano & Ware                              Contingent
           503 N. Main St. Ste. 125                                             Unliquidated
           Pueblo, CO 81003                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,000.00
           Arnold Kern                                                          Contingent
           Luchsweg 4 CH-8135 Langrau on Albis                                  Unliquidated
           Switzerland                                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,812.45
           Blazer Electric Supply Co.                                           Contingent
           435 Argyle Ave.                                                      Unliquidated
           Pueblo, CO 81004                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 12
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         Case:19-10512-JGR Doc#:23 Filed:02/14/19                                              Entered:02/14/19 15:07:32 Page20 of 33
 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,115,000.00
          Blue & Green, LLC                                                     Contingent
          6161 S. Syracuse Way, #320                                            Unliquidated
          Greenwood Village, CO 80111
                                                                                Disputed
          Date(s) debt was incurred 5/1/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Brant Wiwi                                                            Contingent
          11956 Laurdwood Dr. Ste. 9                                            Unliquidated
          Studio City, CA 91604                                                 Disputed
          Date(s) debt was incurred 4/24/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $406.96
          CenturyLink                                                           Contingent
          PO Box 91155                                                          Unliquidated
          Seattle, WA 98111                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,473.21
          CIA - Leavitt Insurance Agency                                        Contingent
          PO Box 5002                                                           Unliquidated
          Alamosa, CO 81101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,066.00
          Colorado Complete Plumbing                                            Contingent
          PO Box 11738                                                          Unliquidated
          Pueblo, CO 81001                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,500.00
          Colorado Security Team                                                Contingent
          19 North Tejon St., Ste. 108                                          Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $100.00
          Corporate Stock Transfer                                              Contingent
          3200 Cherry Creek Dr. South, #430                                     Unliquidated
          Denver, CO 80209                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 12
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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Dan Foster IRA                                                        Contingent
          2850 NW Lacamas Dr.                                                   Unliquidated
          Camas, WA 98607                                                       Disputed
          Date(s) debt was incurred 6/15/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Daryl Mendelsberg                                                     Contingent
          2242 S. Grape Street                                                  Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred      8/23/2016                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          David Marshall                                                        Contingent
          626 Gilgalad Way                                                      Unliquidated
          Fort Collins, CO 80526                                                Disputed
          Date(s) debt was incurred 6/8/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          David S. Barnes                                                       Contingent
          7183 S. Buckley Rd.                                                   Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Deodar Holdings                                                       Contingent
          18539 CR 4                                                            Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred      12/12/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $155,000.00
          Elevation Fund                                                        Contingent
          6161 S. Syracuse Way, #320                                            Unliquidated
          Greenwood Village, CO 80111
                                                                                Disputed
          Date(s) debt was incurred 4/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,987.96
          ETG Systems Inc.                                                      Contingent
          2131 S. Jasmine St.                                                   Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 12
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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,348.11
          Fremont Paving & Redi-Mix, Inc.                                       Contingent
          PO Box 566                                                            Unliquidated
          Canon City, CO 81215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Gary Mendelsberg                                                      Contingent
          2519 S. Ivanhoe                                                       Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,381.90
          Glaser Energy                                                         Contingent
          215 Auburn Dr.                                                        Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,762.80
          Heartland Industries LLC                                              Contingent
          512 W. Colorado Ave.                                                  Unliquidated
          Colorado Springs, CO 80905                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Helen C. Wagner                                                       Contingent
          430 Edgewood Rd.                                                      Unliquidated
          San Mateo, CA 94402                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          High Speed Aggregate, Inc.                                            Contingent
          c/o Jeff Ploen                                                        Unliquidated
          8480 E. Orchard Rd., Suite 4900
                                                                                Disputed
          Greenwood Village, CO 80111
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/14/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $396.16
          Hort Americas LLC                                                     Contingent
          2801 Renee St.                                                        Unliquidated
          Bedford, TX 76021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 12
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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $975,000.00
          Hugo Zimmerman                                                        Contingent
          Via Tull 7 7017                                                       Unliquidated
          Flims Dorf, Switzerland                                               Disputed
          Date(s) debt was incurred 4/13/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,399.80
          Husch Blackwell LLP                                                   Contingent
          190 Carondelet Plaza, Suite 600                                       Unliquidated
          Saint Louis, MO 63105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $750,000.00
          I. Wistar Morris                                                      Contingent
          5 Radnor Corporate Center, Ste 450                                    Unliquidated
          Radnor, PA 19087
                                                                                Disputed
          Date(s) debt was incurred 4/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          I. Wistar Morris IRA                                                  Contingent
          5 Randar Corporate Center, Ste. 450                                   Unliquidated
          Radnar, PA 19087
                                                                                Disputed
          Date(s) debt was incurred 6/10/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          IRA Resources Inc. FBO Bill Reeb                                      Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          IRA Resources Inc. FBO Donald Gale                                    Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          IRA Resources Inc. FBO Jennifer Milus                                 Contingent
          16980 Bristol Rd.                                                     Unliquidated
          Lewes, DE 19958                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          IRA Resources Inc. FBO John Brooks                                    Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          IRA Resources Inc. FBO Melissa Richards                               Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          IRA Resources Inc. FBO Michael Harnish                                Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          IRA Resources Inc. FBO Richard Wiwi                                   Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred 5/22/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          IRA Resources Inc. FBO Stephen Marrinan                               Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          IRA Resources, Inc. FBO Angela                                        Contingent
          Swarts IRA                                                            Unliquidated
          6825 La Jolla Blvd.                                                   Disputed
          La Jolla, CA 92037
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/10/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          IRA Resources, Inc. FBO Maureen Miller                                Contingent
          6825 La Jolla Blvd.                                                   Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred 5/22/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          IRA Resources, Inc. FBO Michael                                       Contingent
          Harnish IRA                                                           Unliquidated
          6825 La Jolla Blvd.                                                   Disputed
          La Jolla, CA 92037
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/4/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          IRA Resources, Inc. FBO Terry Lee                                     Contingent
          Swarts IRA                                                            Unliquidated
          6825 La Jolla Blvd.                                                   Disputed
          La Jolla, CA 92037
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/12/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          IRA Resources, Inc. FBO Wayne                                         Contingent
          Harding IRA                                                           Unliquidated
          6825 La Jolla Blvd.                                                   Disputed
          La Jolla, CA 92037
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/27/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          James Magner                                                          Contingent
          4565 E. Mexico Ave. #13                                               Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          James Wagner                                                          Contingent
          430 Edgewood Road                                                     Unliquidated
          San Mateo, CA 94402                                                   Disputed
          Date(s) debt was incurred 8/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Jeff & Rex Ploen                                                      Contingent
          6222 S. Blackhawk Ct.                                                 Unliquidated
          Englewood, CO 80111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $257,000.00
          John Paulson                                                          Contingent
          9648 Smith Road                                                       Unliquidated
          San Carlos, CA 92371                                                  Disputed
          Date(s) debt was incurred 9/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Jon & Linda Gruber                                                    Contingent
          300 Tamal Plaza, Suite 280                                            Unliquidated
          Corte Madera, CA 94925                                                Disputed
          Date(s) debt was incurred 3/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Jon D. and Linda W. Gruber Trust                                      Contingent
          300 Tamal Plaza, Suite 280                                            Unliquidated
          Corte Madera, CA 94925                                                Disputed
          Date(s) debt was incurred 8/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,936.89
          K & L Gates LLP                                                       Contingent
          210 6th Ave.                                                          Unliquidated
          Pittsburgh, PA 15222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,133.00
          Main Electric, Ltd.                                                   Contingent
          1115 N. Erie Ave.                                                     Unliquidated
          Pueblo, CO 81001                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Mark E. Anderson                                                      Contingent
          16300 Sand Canyon Ave., Suite 1005                                    Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred 5/18/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Mary Condeff                                                          Contingent
          171 Mavis Place                                                       Unliquidated
          Corte Madera, CA 94925                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          McMahon Energy Partners, L.P.                                         Contingent
          4545 S. Monaco Street, #144                                           Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred 8/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Mindy Miller                                                          Contingent
          428 N. 2nd Street                                                     Unliquidated
          La Salle, CO 80645                                                    Disputed
          Date(s) debt was incurred      11/15/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,584.83
          Mountain Disposal, Inc.                                               Contingent
          PO Box 20230                                                          Unliquidated
          Colorado City, CO 81019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,513.14
          Moye White LLP                                                        Contingent
          1400 16th Street, 6th Floor                                           Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          NDIRA, Inc. fbo Mary Loughran SEP IRA                                 Contingent
          1070 W. Century Dr. Ste. 101                                          Unliquidated
          Louisville, CO 80027                                                  Disputed
          Date(s) debt was incurred 6/30/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          PENSCO Trust Company, Custodian                                       Contingent
          FBO Megan Kelley IRA                                                  Unliquidated
          P.O. Box 173859                                                       Disputed
          Denver, CO 80217
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/1/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Phillip A. Gustafson                                                  Contingent
          6307 Monterey Pl.                                                     Unliquidated
          Littleton, CO 80130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,900.00
          Pinnacle Consultation                                                 Contingent
          1438 N. Highway 89 #120                                               Unliquidated
          Farmington, UT 84025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       GrowCo, Inc.                                                                            Case number (if known)            19-10512 JGR
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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Presley Reed                                                          Contingent
          375 Bellvue Drive                                                     Unliquidated
          Boulder, CO 80302                                                     Disputed
          Date(s) debt was incurred      10/18/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,177.38
          Pueblo County Treasurer                                               Contingent
          215 W 10th St #110                                                    Unliquidated
          Pueblo, CO 81003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $987.26
          Rampart Supply Inc.                                                   Contingent
          PO Box 1089                                                           Unliquidated
          Colorado Springs, CO 80901                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Rueben Mendelsberg                                                    Contingent
          2343 Pruneridge Ave. #3                                               Unliquidated
          Santa Clara, CA 95050                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $92.40
          St. Charles Mesa Water                                                Contingent
          1397 Aspen Rd.                                                        Unliquidated
          Pueblo, CO 81006                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $363.88
          St. Charles Mesa Water                                                Contingent
          1397 Aspen Rd.                                                        Unliquidated
          Pueblo, CO 81006                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,619.00
          Steelsmith                                                            Contingent
          1216 LL Grandview Ave.                                                Unliquidated
          Pittsburgh, PA 15211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          The Strugell Law Firm 401k Profit Sharin                              Contingent
          14 Inverness Dr.                                                      Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,150,000.00
          Thomas Prasil Trust                                                   Contingent
          3935 E. San Miguel Ave.                                               Unliquidated
          Paradise Valley, AZ 85253                                             Disputed
          Date(s) debt was incurred 5/3/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Tricia Varrasso                                                       Contingent
          9300 Lavell Street                                                    Unliquidated
          La Mesa, CA 91941                                                     Disputed
          Date(s) debt was incurred      4/15/2016                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Ultimate Investments                                                  Contingent
          1198 Finn Avenue                                                      Unliquidated
          Lone Tree, CO 80124
                                                                                Disputed
          Date(s) debt was incurred 8/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Ursula Gutscher                                                       Contingent
          Via Tull 7 7017                                                       Unliquidated
          Flims Dorf, Switzerland                                               Disputed
          Date(s) debt was incurred 4/14/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $193,617.86
          Van Wingerden Greenhouse Co.                                          Contingent
          4078 Haywood Rd.                                                      Unliquidated
          Mills River, NC 28759                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,254.42
          Wagner Equipment Co.                                                  Contingent
          PO Box 17620                                                          Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.75      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $997.50
           Weinman & Associates PC                                              Contingent
           730 17th St., Ste. 240                                               Unliquidated
           Denver, CO 80202                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $7,154.57
           Wheeler Trigg O'Donnell LLP                                          Contingent
           370 17th Street, Suite 4500                                          Unliquidated
           Denver, CO 80202                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.77      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $100,000.00
           Whitney Buchanan                                                     Contingent
           5201 Constitution Avenue NE                                          Unliquidated
           Albuquerque, NM 87110                                                Disputed
           Date(s) debt was incurred 3/7/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   10,790,043.60

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      10,790,043.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 12
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         Case:19-10512-JGR Doc#:23 Filed:02/14/19                                    Entered:02/14/19 15:07:32 Page31 of 33
 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         19-10512 JGR
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case:19-10512-JGR Doc#:23 Filed:02/14/19                                 Entered:02/14/19 15:07:32 Page32 of 33
 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         19-10512 JGR
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Two Rivers                        3025 S. Parker Rd., Suite 140                     Multiple - Unsecured               D
             Water & Farming                   Aurora, CO 80014                                                                     E/F
             Company                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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         Case:19-10512-JGR Doc#:23 Filed:02/14/19                                               Entered:02/14/19 15:07:32 Page33 of 33




 Fill in this information to identify the case:

 Debtor name         GrowCo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         19-10512 JGR
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 14, 2019                       X /s/ John R. McKowen
                                                                       Signature of individual signing on behalf of debtor

                                                                       John R. McKowen
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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